           Case 4:23-cr-00218        Document 6       Filed on 05/17/23 in TXSD       Page 1 of 1
                                                                                          United States District Court
              Sealed                    UNITED STATES DISTRICT COURT                        Southern District of Texas
Public and unofficial staff access      SOUTHERN DISTRICT OF TEXAS                               ENTERED
     to this instrument are
   prohibited by court order                   HOUSTON DIVISION                                  May 18, 2023
                                                                                            Nathan Ochsner, Clerk

       UNITED STATES OF AMERICA                           §
                                                          §
                                                          §     CRIMINAL NO:        4:23-cr-218
                        V.
                                                          §
                                                                SEALED
                                                          §
       DHIRENKUMAR VISHNUBHAI PATEL                       §
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                               ORDER FOR ISSUANCE OF BENCH WARRANT


          A         CRIMINAL INDICTMENT             has been returned against the defendant listed

       below.

         It is ORDERED that a warrant be issued for the arrest of said defendant. Upon arrest and

       appearance, a judicial determination shall be made as to detention or release on conditions. The

       United States Government recommends to the Court the following:

       Defendant

       DHIRENKUMAR VISHNUBHAI PATEL

                                                                DETENTION
                                                                RELEASED ON CONDITIONS
                                                                APPEARANCE BOND IN THE
                                                                AMOUNT OF: $

          SIGNED at Houston, Texas, on                         May 17, 2023                  .




                                                    UNITED STATES MAGISTRATE JUDGE
